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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
CHICAGO DIVISION

CAROLYN MILLER, on behalf of herself
and other similarly situated,

Plaintiff,
CASE NO. 1:18-cv-04088

Vv.
Hon. Rebecca R. Pallmeyer

SOUTHWEST CREDIT SYSTEMS, L.P.,

Defendant.

 

DEFENDANT SOUTHWEST CREDIT SYSTEMS, L.P.’S
MOTION FOR SUMMARY JUDGMENT

 

Exhibit D
84/18/18 Ace 84 BI Mots sb Gdment #: 568 Filed: 05/16716*Paga*2 of 2 PagelD #:708 M41

Community ty Lawyers Group
73 W. Monroe Streét, Suite 514

Chicago, Illinois 60603
PH: (312)765-7561

April 18, 2018

Southwest Credit
4120 International Pkwy, Suite 1100
Carrollton, TX 75007-1958

Re: CAROLYN COLEMAN
321 N. LIRERTY STREET
ELGIN, IL 60720
ACCOUNT, 601119902 (MONI)
Current Amount of Debt: $725.03
Last 4 of Social: 8078

Dear Sir or Madam:

The above referenced chent is represented by our firm regarding all matters in connection with the above
referenced debt, please direct any future communication regarding this account to our office. This client
regrets not being able to pay, however, at this time they are insolvent, as their monthly expenses exceed
the amount of income they receive, and the debt reported on the credit report is not accurate. If their
circumstances should change, we will be in touch.

If you wish to discuss this matter, please contact our office directly at (312) 765-7561 to speak with the
attorney assigned to the matter, Michael Wood.

Sincerely,
/s! Michael Wood

Client Name:
CAROLYN COLEMAN

32] N. LIBERTY STREET
ELGIN, IL 60120
